AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case                                                       (NOTE: Identify Changes with Asterisks (*))
                     Sheet 1




                                        United States District Court                                                - .
                                                           Eastern District of New York
                                                                                                                             i lO
               UNITED STATES OF AMERICA                          LED^ AMENDED JUDGMENT IN A IIMINAL^ASE
                                                            CLERK'S OFFICE
                                  V.                U.S. district COURT^'rD.N.Y.
                         EDGAR VEYTIA
                                                           OCT3  1201^ i
                                                           HPT Q 1 onjfl Cgse Number: CR17-00115(CBA)
                                                                                   M Number: 60875-298
Date of Original Judgment:             9/26/2019                                  .effrey Lichtman, Esq. (AUSA Ryan Harris)
                                       fOr Date ofLast Amenaet                    ifendant's Attorney


THE DEFENDANT:
    pleaded guilty to count(s)      one (1) of Indictment
□ pleaded nolo contendere to count(s)
    which was accepted by the court.
□ was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                  Nature of Offense                                                           Offense Ended                Count

21:963, 21:960(b)(1)             International conspiracy to distribute 1 kilogram or more of                February 2017                1

                                 heroin, 5 kilograms or more of cocaine, 500 grams or more

                                 of methamphetamine & 1000 kilograms or more of marijuana
       The defendant is sentenced as provided in pages 2 through              6           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
  Count(s) 2 & 3                                .□ is               are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attomey for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attomey of material changes in economic circumstances.
                                                                                                             9/26/2019
                                                                              Date of Im          ion of Judgment

                                                                                  s/Carol Bagley Amon
                                                                              Signature of Judge
                                                                                 Carol Bagley Amon, USDJ
                                                                              Name and Title of Judge

                                                                                                            10/30/2019
                                                                              Date
AO 245C(Rev. 09/19) Amended Judgment in a Criminal Case
                    Sheet 2 — Imprisonment                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment — Page              of       "e"
DEFENDANT: EDGAR VEYTIA
CASE NUMBER: CR17-00115(CBA)

                                                             IMPRISONMENT


       The defendant is hereby committed to the custody ofthe Federal Bureau ofPrisons to be imprisoned for a
total term of:
twenty (20) years




^      The court makes the following recommendations to the Bureau ofPrisons:
        *That the defendant be incarcerated at a facility in the Northeast, specifically FCI Otisville, only if deemed appropriate,




□      The defendant is remanded to the custody of the United States Marshal.

□      The defendant shall surrender to the United States Marshal for this district:

       □      at                                  □       a.m.     □    p.m.       on
       □      as notified by the United States Marshal.

□      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons;
       □      before 2 p.m. on                                             .
       □      as notified by the United States Marshal.

       □      as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

Ihave executed this judgment as follows:




       Defendant delivered on                                                             to


at                                                        with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL




                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL
 AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                          Judgment—Page    3    of
 DEFENDANT: EDGAR VEYTIA
 CASE NUMBER: CR17-00115(CBA)
                                                        SUPERVISED RELEASE

 Upon release from imprisonment, you will be on supervised release for a term of:
     five (5) years




                                                     MANDATORY CONDITIONS


1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               □ The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse, (check if applicable)
4.       □ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution, (check if applicable)
5.       □ You must cooperate in the collection of DNA as directed by the probation officer, (check if applicable)
6.       □ You must comply witili the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
             directed by the probation officer, the Bureau of Prisons", of any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense, (check ifapplicable)
7.       □ You must participate in an approved program for domestic violence, (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
 AO 245B (Rev. 02/18) Judgment in a Criminal Case
                      Sheet 3A — Supervised Release
                                                                                                Judgment—Page         4        of
DEFENDANT: EDGAR VEYTIA
 CASE NUMBER: CR17-00115(CBA)

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must cou^ly with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the TninimuTn tools needed by probation
of&cers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different tune
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial ^strict where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours ofbecoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week)at a lawfid type of employment, unless the probation officer excuses yoq from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work(such as your position or yourjob
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware ofa change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own,possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or makft any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission ofthe court.
12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions ofthe probation officer related to the conditions ofsupervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                             ^                                                       Date
AO 245B (Rev. 02/18) Judgment in a Criminal Case
                             Sheet 5—Criminal Monetary Penalties
                                                                                                                                                 Judgmoat—Page             5                of
DEFENDANT: EDGAR VEYTIA
CASE NUMBER: CR17-00115(CBA)
                                                     CRIMINAL MONETARY PENALTIES

      The HfffffnHaTit must pay the total crimioal monetaiy penalties under the schedule of payments on Sheet 6.

                             Assessment                   JVTA Assessment*                                  Fine                                            Restitution

TOTALS               $ 100.00                        $                                                  $



D The determination ofrestitution is deferred until                                         . An Amended Judgment in a Criminal Case(A0245C) will be entered
      after such determination.


□ The defendant must trtaVft restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, uoless specified othei^se m
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                                     Total Loss**                       Restitution Ordered                                   Priority or Percentage




                                                                                                                                                                                                      --in.




                                               1 .   ^1   t   1                     —-y. I,'I'l "ii"—       ^                       'I                  V                      - -c j ' i-""";,"" '       ■!




                                                                                                                                                       n"              r

                                                                                                                :!             t     "-v -        ..           .»-..



              «   -.ft t-.                                               --frr f- »£.           ^                                         -f                               ^




                                                                                                                     i;-®.-. T:''..-:,f,-f.- r




TOTALS                                                                     0.00                                                                0.00




□     Restitution amount ordered pursuant to plea agreement $

□      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(Q. All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      □ the interest requirement is waived for the                       □ fine               □ restitution.

      n the interest requirement for the                  D       fine       □ restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters 109A, 110, 1lOA, and 113 A of Title 18 for offenses committed on or
after September 13,1994, but before April 23, 1996.
 AO 245B (Rev. 02/18) Judgment in a Criminal Case
                       Sheet 6 — Schedule ofPayments
                                                                                                              Judgment—Page               of

 DEFENDANT: EDGAR VEYTIA
 CASE NUMBER: CR17-00115(CBA)

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as foUows:

 A    ^ Lump sum payment of$ 100-00                             due immediately, balance due
            □     not later than                                     , or
            □     in accordance with DC,            □ D,       □ E, or         □ F below; or

B     □ Payment to begin immediately (may be combined with                  DC,         □ D, or       □ F below); or

 C    □ Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years)^ to commence                      (e.g, SO or 60 days) after the date of this judgment; or

D     □ Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years)^ to commence                      (e.g., SO or 60 days) after release from imprisonment to a
            term of supervision; or

E     □ Payment during the term of supervised release wiU commence within                                 (e.g., SO or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     □ Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise,if this judgment imposes imprisonment, pajment of criminal monetary penalties is due during
the period of iiqprisomnent. All criminal monetary penalties, except those payments made throu^ the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



□     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




□     The defendant shall pay the cost of prosecution.

□     The defendant shall pay the following court cost(s):

^ The defendant shall forfeit the defendant's interest in the following property to the United States:
       See attached Order of Forfeiture (4 pages).


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
SLR:LDM:BGK
F.# 2017R00354/ NY-NYE-801


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA                         ORDER OF FORFEITURE

        - against -                                17-CR-115(CBA)

 EDGAR VEYTIA,
    also known as "Diablo,""Eepp,"
    and "Lie Veytia,"

                             Defendant.

                                            X


               WHEREAS,on or about January 4,2019,EDGAR VEYTIA,also known as

"Diablo,"Eepp," and "Lie Veytia"(the "defendant"), entered a plea of guilty to the offense
eharged in Count One ofthe above-eaptioned Indietment, eharging a violation of21 U.S.C.
§§ 963 and 960(b)(1)(A); and

               WHEREAS,pursuant to 21 U.S.C. §§ 853(a) and 970,the defendant has

eonsented to the entry ofa forfeiture money judgment in the amovmt of one million dollars

and zero eents($1,000,000.00)(the 'Torfeiture Money Judgment"), as(a)any property

constituting, or derived from,any proceeds obtained, directly or indirectly, as the result of

such offense, and(b)any property used, or intended to be used, in any manner or part, to
                                                                           /


commit, or to facilitate the commission of, such offense, and/or as substitute assets, pursuant

to 21 U.S.C. § 853(p).

               IT IS HEREBY ORDERED,ADJUDGED AND DECREED,on consent, by

and between the United States and the defendant as follows:
              1.      The defendant shall forfeit to the United States the full amount ofthe

Forfeiture Money Judgment, pursuant to 21 U.S.C. §§ 853(a), 853(p) and 970.

              2.      All payments made towards the Forfeiture Money Judgment shall be

made by a money order, or a csertified or official bank check, payable to the "United States
Marshals Service," with the criminal docket number noted on the face ofthe check. The

defendant shall cause said check(s)to be delivered by overnight mail to Assistant United

States Attorney Brendan G. King, United States Attorney's Office, Eastern District ofNew
York,271-A Cadman Plaza East, Brooklyn, New York 11201. The Forfeiture Money

Judgment shall be paid in full within six(6) months ofsentencing (the "Due Date").
              3.      Upon entry ofthis Order of Forfeiture ("Order"), the United States

Attorney General or his designee is authorized to conduct any proper discovery in
accordance with Fed. R. Grim.P. 32.2(b)(3) and (c). The United States alone shall hold title

to the monies paid by the defendant to satisfy the Forfeiture Money Judgment following the
Court's entry ofthe judgment of conviction.

              4.      The defendant shall not file or interpose any claim or assist others to

file or interpose any claim to any property against which the government seeks to execute the
Forfeiture Money Judgment in any administrative or judicial proceeding. The defendant
ghall fully assist the government in effectuating the pajunent ofthe Forfeiture Money

Judgment. Ifthe Forfeiture Money Judgment is not received as provided above,the
defendant shall forfeit any other property of his up to the value ofthe outstanding balance,

pursuant to 21 U.S.C. § 853(p). The defendant further agrees that the conditions of21
U.S.C. § 853(p)(l)(A)-(E) have been met.



United States v. Edgar Vevtia. 17-CR-115(CBA)
Order of Forfeiture                                                                      Page 2
              5.      The defendant knowingly and voluntarily waives his right to any

required notice concerning the forfeiture ofthe monies and/or properties forfeited hereunder,

including notice set forth in an indictment or information. In addition, the defendant

knowingly and voluntarily waives his right, if any,to ajmy trial on the forfeiture of said
                                                                         s



monies and/or properties, and waives all constitutional, legal and equitable defenses to the

forfeiture ofsaid monies and/or properties, including, but not limited to, any defenses based

on principles of double jeopardy, the     Post Facto clause ofthe Constitution, any applicable

statute of limitations, venue, or any defense imder the Eighth Amendment,including a claim

of excessive fines.

              6.      The entry and payment ofthe Forfeiture Money Judgment is not to be

considered a payment of a fine, penalty, restitution loss amount or a payment ofany income

taxes that may be due and shall survive bankruptcy.

              7.      Pursuant to Fed. R. Grim. P. 32.2(b)(4)(A) and (B), this Order shall

become final as to the defendant at the time of sentencing and shall be made part ofthe

defendant's sentence and included in the judgment of conviction. This Order shall become

the Final Order ofForfeiture, as provided by Fed. R. Grim. P. 32.2(c)(2). At that time,the

monies and/or properties forfeited herein shall be forfeited to the United States for

disposition in accordance with the law.

              8.      This Order shall be binding upon the defendant and the successors,

administrators, heirs, assigns and transferees ofthe defendant, and shall survive the

bankruptcy ofany ofthem.

              9.      This Order shall be final and binding only upon the Court's "so

ordering" ofthe Order.
United States v. Edgar Vevtia. 17-GR-l 15 tCBAJ
Order ofForfeiture                                                                       Page 3
              10.    The Court shall retain jurisdiction over this action to enforce

compliance with the terms ofthis Order and to amend it as necessary, pursuant to Fed. R.

Grim. P. 32.2(e).

              11.    The Clerk ofthe Court is directed to send, by inter-office mail,three(3)

certified copies ofthis executed Order to the United States Attorney's Office, Eastern

District of New York, Attn: PSA Senior Law Clerk William K. Helwagen,271-A Cadman

Plaza Bast, 7"' Floor, Broold5m, New York 11201.

Dated: . Brooklyn, New York
                        ,2019

                                              SO ORDERED:


                                                 s/Carol Bagley Amon
                                              HONORABi:^ CA^OL Ejf. AMON
                                              UNITED STATE^ISTRICT JUDGE
                                              EASTERN DISTRICT OF NEW YORK




United States v. Edgar Veytia. 17-CR-115(CBA)
Order ofForfeiture                                                                       Page 4
